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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND onigg

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UNITED STATES OF AMERICA *
* CROELT
v. * NT. NG a os
* or
AUSTIN SMITH, * comet to ‘Ga Wire Feeudl,
a/k/a “John Ried,” * 18 U.S.C. § 1349)
*
Defendant x
KEKE
INFORMATION

The Acting Chief of the U.S. Department of Justice, Criminal Division, Fraud Section

charges that:
GENERAL ALLEGATIONS
The Defendant and Related Entities

ke The defendant, AUSTIN SMITH (SMITH), was a resident of the country of Israel.

a Yukom Communications was an Israel-based business that provided sales and
marketing services, including “retention services” for two internet-based businesses with the brand
names BinaryBook and BigOption.

3. Numaris Communications was an Israel-based business that provided sales and
marketing services, including “retention services” for BinaryBook. Numaris coordinated its work
with Yukom and shared resources, including email solicitations and call scripts.

4, BinaryBook and BigOption sold and marketed financial instruments known as
“binary options.” BinaryBook and BigOption sold and marketed binary options to customers
located throughout the world, including in the United States and within the District of Maryland.

a A conversion agent was a salesperson responsible for converting a prospective

binary options customer into an investor and obtaining an initial deposit of funds. A retention
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agent was responsible for working with the investor going forward with the goal of obtaining
additional deposits.

6. Retention services were services provided with the objective to obtain additional
deposits from investors who had previously made deposits.

7. Yukom provided retention services on behalf of BinaryBook and BigOption
through the use of communications by email and by phone to individuals in the United States,
including in the District of Maryland, and elsewhere throughout the world.

8. Numaris also provided retention services on behalf of BinaryBook through the use
of communications by email and by phone to individuals in the United States, including in the
District of Maryland, and elsewhere throughout the world.

2 Yukom and Numaris salespeople sometimes referred to themselves as “brokers” or
“traders” to potential investors.

10. From in or about August 2015 through in or about January 2016, SMITH worked
as a sales representative or otherwise supervised BinaryBook representatives at Numaris.

11. In correspondence and other communications, SMITH identified himself as an
“Expert Trader” and a “Senior Broker” for BinaryBook.

Binary Options

12. A binary option was a type of option contract in which the payout depended on the
outcome of a discrete event, typically related to whether the price of a particular asset—such as a
stock or a commodity—would rise above or fall below a specified amount. Unlike standard
options, investors in binary options were not being given the opportunity to actually purchase a
stock or a commodity but, rather, were effectively predicting whether its price would be above or

below a certain amount at a-certain time of the day. The option holder was typically promised
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that when the binary option expired, the option holder would receive either a pre-determined
amount of cash or nothing.

13. | While some binary options were listed on registered exchanges or traded on a
designated contract market that were subject to oversight by U.S. regulators such as the Securities
and Exchange Commission and the Commodity Futures Trading Commission, neither BinaryBook
nor BigOption sold binary options that were traded on a legal and regulated designated contract
market in the United States.

Related Definitions

14. A “bonus” was an amount that representatives of BinaryBook and BigOption could
contribute to an investor’s account to be used in trading.

15. A “risk free trade” or “insured trade” was a trade offered by representatives to
investors in which the investors’ accounts would be reimbursed by “bonus” funds in the event of

a losing trade.

Victim A
16. Victim A, an investor in BinaryBook, was a resident of Gaithersburg, Maryland,
located in the District of Maryland.
COUNT ONE

(Conspiracy to Commit Wire Fraud)
17. Paragraphs | through 16 of this Information are incorporated here.
18. Beginning in or about August 2015 through in around January 2016, in the District
of Maryland and elsewhere, the defendant,
AUSTIN SMITH,
and others known and unknown, did knowingly combine, conspire, confederate, and agree with

each other and others, both known and unknown, to commit offenses against the United States, to
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wit, wire fraud, that is, knowingly and with intent to defraud, having devised and intended to devise
a scheme and artifice to defraud and to obtain money and property by means of materially false
and fraudulent pretenses, representations, promises, and knowing concealment concerning a
material fact or matter, to transmit and cause to be transmitted by means of wire communications
in interstate and foreign commerce, writings, signs, signals, pictures and sounds for the purpose of
executing the scheme and artifice, in violation of Title 18, United States Code, Section 1343.
Purpose of the Conspiracy

19. It was the purpose of the conspiracy for SMITH and representatives of Yukom,
Numaris, BinaryBook, BigOption, and other entities to obtain the maximum deposit from investors
and to take steps to ensure that investors lost the money in their accounts—thereby making money
for themselves and their brand in the process.

Manner and Means of the Conspiracy

20. SMITH and his co-conspirators induced investors to deposit funds based on
misrepresentations, including: (1) false statements and material omissions regarding the alignment
of financial incentives between investors and representatives; (2) false statements and material
omissions regarding the suitability of binary options as investments and returns on investments in
binary options; (3) false statements and material omissions about the names, qualifications, and
physical location of representatives assisting investors; and (4) false statements and material
omissions regarding investors’ ability to withdraw investment funds and about the reasons that
funds could not be withdrawn. Representatives of BinaryBook and BigOption also made false
statements and material omissions regarding—and engaged in the deceptive use of—so-called

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“bonuses,” “risk free trades,” and “insured trades.”
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Overt Act in Furtherance of the Conspiracy
21. Onor about August 28, 2015, in furtherance of the conspiracy and to effect the
objects of the conspiracy, the Defendant sent an email through interstate and foreign commerce to
Victim A on behalf of BinaryBook at Victim A’s Google email account regarding bank wire
transfer instructions while Victim A was in the District of Maryland.

18 U.S.C. § 1349

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Acting Chiéf, Fraud Section
U.S. Department of Justice, Criminal Division
